                                                                                         United States District Court
          Case 3:22-mj-00783-SDV Document 1 Filed 08/19/22 Page 1 of 2 District of Connecticut
                                                                                          FILED AT BRIDGEPORT

                                                                                           August 19             22
                                                                                      _______________________,20___



                             UNITED STATES DISTRICT COURT                             By__________________________
                                                                                               Deputy Clerk
                               DISTRICT OF CONNECTICUT


IN RE GRAND JURY SUBPOENA(S)                      :           No. 3:22mj783 SDV
                                                  :
N-21-2-172 / Subpoena #1                          :           August 16, 2022


                     APPLICATION FOR NON-DISCLOSURE ORDER

       The United States Government respectfully submits this application, pursuant to 18

U.S.C. § 2705(b), for an order providing that the provider(s) identified below (“Provider(s)”)

may not notify any person (including the subscribers or customers of the account(s) listed in the

subpoena(s)) of the existence of the grand jury subpoena(s) identified below (“Subpoena(s)”)

until August 16, 2023, absent further order from the Court:

       Provider(s)                            Subpoena(s)
       Google LLC                             N-21-2-172 / Subpoena #1

       The Provider(s) identified above is a provider of an electronic communication service, as

defined in 18 U.S.C. § 2510(15), and/or a remote computing service, as defined in 18 U.S.C.

§ 2711(2). The subpoena(s) requires the corresponding Provider(s) to disclose certain records

and information to the United States pursuant to 18 U.S.C. § 2703(c)(2).

       Because the Government is not required to provide notice of the subpoena(s), see 18

U.S.C. §2703(c)(3), the Government may apply for an order under 18 U.S.C. § 2705(b)

“commanding a provider(s) of electronic communications service or remote computing service . .

. for such period as the court deems appropriate, not to notify any other person of the existence”

thereof. The order shall issue if the Court “determines that there is reason to believe that

notification of the existence” of the subpoena(s) would result in one of several enumerated

harms, including “flight from prosecution; destruction of or tampering with evidence; . . . or

otherwise seriously jeopardizing an investigation.”
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       In this case, a non-disclosure order is appropriate because the subpoena(s) relates to an

ongoing criminal investigation, which is neither public nor known to all of the subjects of the

investigation. Accordingly, disclosure of the subpoena(s) would likely alert the subject(s) of the

investigation to the existence of the investigation.

       Given the nature of this investigation, much of the evidence likely exists in electronic

form. If alerted to the existence of the investigation, the subject(s) of the investigation could

easily destroy or tamper with that evidence, whether stored by a third-party service provider(s) or

on personal computers, mobile phones, or other electronic devices. Accordingly, there is reason

to believe that notification of the existence of the subpoena(s) will seriously jeopardize the

investigation, including by giving subject(s) of the investigation an opportunity to flee, destroy

or tamper with evidence, and change patterns of behavior.

       WHEREFORE, the United States Government respectfully requests that the Court grant

the attached Order directing the Provider(s) not to disclose the existence or contents of the

subpoena(s) until August 16, 2023, absent further order from the Court, except that each

Provider(s) may disclose the subpoena(s) to an attorney for the purpose of receiving legal advice.

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                                               UNITED STATES ATTORNEY




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